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 8                             IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                                CASE NO. 1:11-CR-00354-LJO
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                             Plaintiff,                       ORDER RE: DISCOVERY ISSUES;
13                                                            MOTIONS SCHEDULE
              vs.
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     RICHARD ANTONIO SALAS, JR., et al.,
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                             Defendants.
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              On February 22, 2013, a status conference regarding the parties’ discovery issues was held in the
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     above titled case. This Court incorporates by reference the hearing transcript, the appearances of the
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     attorneys, and the Court’s discovery rulings.
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              With regard to substantive motions, the Court sets the following briefing schedule. All
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     substantive motions must be filed by June 3, 2013. The government’s opposition is due on July 15,
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     2013. A hearing, if necessary, will be held on August 23, 2013, at 08:30 a.m. in Courtroom 3.
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              IT IS SO ORDERED.
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     Dated:         February 22, 2013                  /s/ Lawrence J. O'Neill  b9ed48
28                                                    UNITED STATES DISTRICT JUDGE

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